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 7
                                     UNITED STATES DISTRICT COURT
 8
                                    SOUTHERN DISTRICT OF CALIFORNIA
 9
                                    (HONORABLE WILLIAM Q. HAYES)
10
      UNITED STATES OF AMERICA,                   )   Case Nos. 07cr1407-WQH
11                                                )             07cr1408-WQH
                  Plaintiff,                      )
12                                                )
                    v.                            )      ORDER AUTHORIZING:
13                                                )
      SALVADOR CHAVEZ-CHAVEZ,                     )      1) INTERIM ATTORNEY BILLING IN
14                                                )         EXCESS OF STATUTORY MAXIMUM; AND
                                                  )
15                Defendant.                      )      2) COPY CONNECTION TO BILL COURT
                                                  )         DIRECTLY FOR ORDER NO. 4
16

17           Upon application of counsel for defendant Salvador Chavez-Chavez, and good cause having been

18    shown, IT IS HEREBY ORDERED AS FOLLOWS:

19           1)     The attorney for Mr. Salvador Chavez-Chavez may submit interim vouchers that will be

20    reviewed by the Court in the normal course of business. Total attorney compensation may exceed the

21    statutory maximum subject to a review by this Court and the Ninth Circuit; and

22           2)     Copy Connection is permitted to directly bill the Court, rather than Salvador Chavez-Chavez,

23    for his purchase of Discovery Order No. 4 (in the amount of $289.65).

24           SO ORDERED.

25    DATED: December 19, 2007

26
                                                               WILLIAM Q. HAYES
27                                                            United States District Judge

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                                                         1                       07cr1407-WQH, 07cr1408-WQH
